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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF RHODE ISLAND


   JANE DOE, parent and next of friend
   of MARY DOE, a minor in and for her
   own behalf and in their own right,
                         Plaintiffs,
                                                                 C.A. No. 17-365-M-LDA
           v.

   CITY OF PAWTUCKET, et. al.
                  Defendants




         DEFENDANTS’, CITY OF PAWTUCKET AND PAWTUCKET SCHOOL
       DEPARTMENT’S, REPLY MEMORANDUM IN SUPPORT OF MOTION FOR
                           SUMMARY JUDGMENT

  I.     Introduction

         Defendants have moved for summary judgment based on Cummings v. Premier Rehab

  Keller, P.L.L.C., 2022 U.S. LEXIS 2230, 142 S. Ct. 1562, 1570 (2022)’s holding that emotional

  distress damages is barred for claims brought under anti-discriminatory legislation passed

  pursuant to the authority of the Spending Clause. Because Title IX was passed pursuant to

  Congress’ authority under the Spending Clause, Cummings similarly applies to prohibit

  emotional distress damages for alleged Title IX violations. Plaintiffs’ claim for damages is

  limited to a request for emotional distress damages. Complaint, at Count I. Accordingly,

  Defendants move for the entry of summary judgment on Plaintiffs’ Title IX claim. Plaintiff has

  objected and cited various theories in opposition. As described infra, Plaintiffs’ theories fail to

  demonstrate compensable damages under Cummings and thus summary judgment should

  accordingly be entered in favor of Defendants.




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  II.    Argument

         A. Under Cummings, Plaintiffs are not entitled to emotional distress damages for the
            alleged Title IX violation

         In the first instance, it is not entirely clear whether Plaintiffs are challenging the

  conclusion that Cummings’ preclusion of emotional distress damages applies with equal force to

  Title IX claims. The sum and substance of Plaintiffs’ opposition to applying Cummings to Title

  IX claims appears to be Plaintiffs’ assertion that Cummings was a claim brought under the

  Affordable Care Act (“ACA”). Plaintiffs’ Memorandum in Support of Objection to Motion for

  Summary Judgment (ECF No. 119-1) at 4 (“Plaintiffs’ Memo”). Plaintiffs, however, proceed to

  acknowledge that Cummings “speculated that because the statute controlling the Title IX cases

  was also based upon contractual relationship, it was likely that no exemplary damages could be

  awarded.” Id.

         In fact, as previously outlined in Defendants’ Memorandum, although Cummings

  addressed claims under the Rehabilitation Act of 1973 and the ACA, the analysis of the Court

  applies with equal force to claims brought under Title IX. See Defendants’ Memorandum of Law

  in Support of Motion for Summary Judgment, (ECF No. 118-1), at 5-9 (“Defendants’ Memo”).

  Like the Rehabilitation Act and ACA, Title IX was enacted under the authority of the Spending

  Clause and the Supreme Court has confirmed that implied action for damages for alleged

  violations is limited to contractual remedies. Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S.

  274, 277, 118 S. Ct. 1989, 1993 (1998) (“Title IX's contractual nature has implications for the

  construction of the scope of available remedies”).

         In fact, since the filing of the Defendants’ Motion for Summary Judgment, other Courts

  have similarly held that Cummings applies to Title IX claims and precludes emotional distress

  damages under Title IX claims. See ie Doe v. Curators of the Univ. of Mo., No. 19-cv-04229-



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  NKL, 2022 U.S. Dist. LEXIS 145137, at *6-7 (W.D. Mo. Aug. 15, 2022) (granting Motion for

  Summary Judgment with respect to Plaintiffs' requests for emotional distress damages on the

  Title IX claims); Doe v. Purdue Univ., No. 2:17-CV-33-JPK, 2022 U.S. Dist. LEXIS 143478 at

  *36 (N.D. Ind. Aug. 11, 2022) (granting motion to dismiss Plaintiff’s claim for "emotional and

  psychological damages" on Title IX claim). Cf. Doe v. Board, No. 4:20CV3036, 2022 U.S. Dist.

  LEXIS 148284, at *9 (D. Neb. Aug. 18, 2022) (granted Motion in Limine limiting expert

  testimony on emotional distress/PTSD claims based in part on Cummings precluding emotional-

  distress damages in Title IX cases); Doe v. Bd. of Regents of the Univ. of Neb., No. 4:20CV3036,

  2022 U.S. Dist. LEXIS 148284, at *10 (D. Neb. Aug. 18, 2022) (excluding any testimony

  regarding emotional damage under Cummings). Accordingly, as a matter of law, Plaintiffs is not

  entitled to emotional distress damages for the alleged Title IX deprivation. 1

         That being said, Plaintiffs appears to proceed to argue that the Title IX claim survives

  because 1. there are outstanding discovery issues; 2. Plaintiffs seek “pain and suffering”; 3.

  Plaintiffs are entitled to nominal damages. Defendants addresses these theories in turn.

         B. Plaintiffs fail to demonstrate that outstanding discovery affects Plaintiffs’ claim for
            non-emotional distress damages

         In the first instance, Plaintiffs’ claim that the outstanding discovery issues somehow

  impact the instant Motion is misplaced. By way of background and clarification, Defendants

  dispute Plaintiffs’ claim that Defendants have implored dilatory tactics or refused to provide

  discovery. As previously articulated to the Court, the outstanding discovery issues have been



  1
    Because the resolution of Defendants’ Motion for Summary Judgment is based on the legal
  conclusion that emotional distress damages are not recoverable under Cummings and Plaintiffs’
  Complaint only seeks emotional distress damages, the Court should note that Defendants did not
  file a Statement of Undisputed Facts in support of the instant Motion. See Local Rule Cv
  56(a)(1), (2). To the extent this Court should subsequently deem that one is necessary to address
  the instant Motion, Defendants will file the same.

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  frustrating but minimal. Rather than evidencing a delay or refusal to provide information,

  Defendants have worked diligently in their attempt to identify what information is being sought

  by Plaintiffs and/or coordinate requested depositions of past and present employees of the

  Pawtucket Learning Academy (“PLA”). 2

         But that being said, Plaintiffs nevertheless utterly fail to provide any basis as to why this

  outstanding discovery has any impact on the narrow issue of whether Plaintiffs are precluded

  from obtaining emotional distress damages in their Title IX claim and whether Plaintiffs have

  suffered any such non-emotional damages. In essence, although no motion has been filed,

  Plaintiffs appear to be seeking an Order under Rule 56(d). See Plaintiffs’ Memo, at 5 (stating that

  Motion is not ripe for decision until such “discovery has been completed”). Rule 56(d) “protects

  a litigant who justifiably needs additional time to respond in an effective manner to a summary

  judgment motion.” Rivera-Almodovar v. Instituto Socioeconomico Comunitario, 730 F.3d 23, 28

  (1st Cir. 2013). However, such a request comes with a burden. Specifically, a party seeking to

  defer a decision on a summary judgment motion in order to obtain additional discovery must,

  “by affidavit or in some other authoritative manner: (i) explain[] his or her current inability to

  adduce the facts essential to filing an opposition, (ii) provide[] a plausible basis for believing that

  the sought-after facts can be assembled within a reasonable time, and (iii) indicate[] how those

  facts would influence the outcome of the pending summary judgment motion.” Id. at 28-29.

         Plaintiffs have utterly failed to meet any of these basic requirements. Most notably,

  Plaintiffs do not identify what, if any, evidence is expected from the outstanding depositions to



  2
   For example, Plaintiffs provided Defendants a list of PLA employees they wished to depose.
  Defendants contacted and confirmed the availability of those on the list, but Plaintiffs then issued
  Notices of Deposition for employees (past and present) not on their original list. In the short few
  months that the parties have attempted to work out these scheduling issues, Plaintiffs themselves
  have cancelled depositions at the last minute for their own scheduling issues.

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  support Plaintiffs’ claim that Plaintiff suffered non-emotional damages. In fact, the outstanding

  discovery appears to be the depositions of employees or former employees of the PLA. Plaintiffs

  fail to provide any explanation or indication as to how these employees’ testimony would

  demonstrate non-emotional damages suffered by the Plaintiffs. Accordingly, Plaintiffs’ reliance

  on such outstanding discovery has no impact on the instant motion and should not delay this

  Court from addressing the instant motion.

         C. Plaintiffs fail to support their argument that they are entitled to “pain and suffering”

         Plaintiffs alternatively argue that summary judgment should be denied because Plaintiffs

  seek damages for “pain and suffering” emanating from “physical and mental injuries.” Plaintiffs’

  Memo., at 6. Beyond this statement, Plaintiffs offer no evidence to support their allegation of

  “pain and suffering” from a “physical injury” that is non-emotional distress or trauma. As

  Defendants demonstrate in their Motion, not only does Plaintiffs’ Complaint not cite any claim

  for “physical injury”, it specifically only seeks “[c]ompensatory damages for Minor Plaintiff’s

  emotional distress and psychological damage, post traumatic syndrome, medical expenses, loss

  of enjoyment and other injuries.” Defendants’ Memo., at 9-10. Moreover, Plaintiffs fail to

  affirmatively identify, with competent evidence, any other compensable injuries beyond the

  emotional stress, psychological and post-traumatic damages identified in the Complaint. Id.

         On a motion for summary judgment, “[o]nce the moving party avers an absence of

  evidence to support the non-moving party's case, the non-moving party must offer definite,

  competent evidence to rebut the motion." Meuser v. Fed. Express Corp., 564 F.3d 507, 515 (1st

  Cir. 2009) (emphasis added). Plaintiffs’ allegations in their Memorandum in opposition to the

  Summary Judgment Motion are mere conclusory statements which are simply insufficient to

  meet this burden. Welch v. Ciampa, 542 F.3d 927, 935 (1st Cir. 2008) ("Although we give the




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  nonmoving party the benefit of all reasonable inferences, a party cannot rest on 'conclusory

  allegations. . . [or] unsupported speculation' to defeat a motion for summary judgment"). Rather,

  Plaintiff rests on their own conclusion that Plaintiffs’ damages amounted to “pain and suffering”

  for “physical injury” without setting forth either legal support or specific facts (supported by

  competent evidence for the same. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256, 91 L. Ed.

  2d 202, 106 S. Ct. 2505 (1986). Not only do Plaintiffs fail to seek such damages in their

  Complaint, but Plaintiffs’ prayer for relief as well as their discovery responses undermines this

  argument. That is, Plaintiffs claim that the minor Plaintiff endured emotional trauma but do not

  offer any evidence of physical injury. Plaintiffs’ conclusory statement that Plaintiffs seek

  compensable pain and suffering for a physical injury is thus refuted by their own pleadings and

  discovery.3

          D.      Plaintiffs’ late-claim for “nominal damages” does not supercede Cummings

          Finally, Plaintiffs seek to avoid summary judgment by claiming an entitlement to unpled

  relief for “nominal damages.” Plaintiffs’ Memo, at 8. In support thereof, Plaintiffs cite Fantasia

  v. Montefoire New Rochelle, No. 19 CV 11054 (VB), 2022 U.S. Dist. LEXIS 107935, at *1

  (S.D.N.Y. June 16, 2022). Notably, Fantasia is distinguishable in the first instance because

  rather than being before the Court on a Motion for Summary Judgment, the Court asked for

  memoranda addressing whether it possessed subject-matter jurisdiction over the Rehabilitation

  Act or ACA, or if the claims were moot, in light of Cummings. The Court ultimately concluded



  3
    That being said, it is also noteworthy that Plaintiffs fail to cite any legal support for finding that
  “physical injuries” are nevertheless recoverable for a breach of contract. See ie Cf. Mechler v.
  John Hancock Life Ins. Co., No. 07-0724-CB-M, 2008 U.S. Dist. LEXIS 75955, at *1 (S.D. Ala.
  Sep. 30, 2008) (Consequential damages for physical injury, pain and suffering, mental anguish,
  and past and future medical expenses are not recoverable for breach of contract under Alabama
  law);


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  that the plaintiffs’ claims were “not moot because [Plaintiff] is entitled to seek "expectation

  damages, damages for "dignitary harm," or nominal damages at trial.” Id. at *3 (emphasis

  added). In the instant case, meanwhile, Plaintiffs are faced with a Motion for Summary Judgment

  demonstrating that no such other claim for damages has been presented by Plaintiffs. As such,

  Plaintiffs are required to produce competent evidence demonstrating an entitlement to non-

  emotional damages in opposition to the Motion for Summary Judgment. Meuser, 564 F.3d at

  515.

          Nevertheless, it has also been held that “in the wake of Cummings, Plaintiffs "cannot

  salvage" their . . . claim[s] "merely by recasting their request for relief as seeking nominal

  damages.” Hejmej v. Peconic Bay Med. Ctr., No. 17-cv-782 (JMA)(SIL), 2022 U.S. Dist. LEXIS

  119114, at *25 (E.D.N.Y. July 5, 2022). As explained by the District Court for the Eastern

  District of New York, “the injuries at the heart of Plaintiffs' claims amount to non-compensable

  emotional distress. [As such, the] Court will not — and frankly, cannot — permit an award of

  damages, regardless of amount, where doing so would directly contradict a Supreme Court

  ruling.” Id. Likewise, in the instant case, the injuries at the heart of Plaintiffs’ claim are for the

  non-compensable emotional distress. As such, a late-claimed entitlement to nominal damages in

  place of such clearly impermissible damages should be rejected.

          In the final analysis, it also bears noting that Plaintiffs have not requested nominal

  damages in their Complaint. While Plaintiffs cite the District Court case of Fantasia to support

  the right to such unpled damages, the weight of authority rejects such a late effort to resurrect an

  otherwise invalid claim. See ie Arizonans for Official English v. Arizona, 520 U.S. 43, 71, 117 S.

  Ct. 1055, 1070 (1997) (a claim "extracted late in the day from [a] general prayer for relief and

  asserted solely to avoid otherwise certain mootness, b[ears] close inspection"); Fox v. Bd. of




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  Trustees of State Univ. of New York, 42 F.3d 135, 141 (2d Cir. 1994) (complaint's prayer for

  "such other relief as the Court deems just and proper" did not suffice to support a late-in-the-day

  claim for nominal damages to avoid mootness because "there is absolutely no specific mention in

  the Complaint of nominal damages" (internal quotation marks and adjustment omitted)).

  III.   Conclusion

         For the reasons cited herein, as well as those raised in Defendants’ Memorandum of Law

  in Support of their Motion for Summary Judgment and those that may be raised at hearing,

  Defendants respectfully move for the entry of summary judgment.



                                                 Defendants,
                                                 By its attorney,

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                                   CERTIFICATION OF SERVICE

          I hereby certify that the within document has been electronically filed with the Court on this
  29th day of August 2022 and is available for viewing and downloading from the ECF system. Service
  on the counsel of record, as listed below, will be effectuated by electronic means:

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                                                 /s/ Marc DeSisto




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